                Case 23-18750-JKS                         Doc 1        Filed 10/06/23 Entered 10/06/23 08:32:32                            Desc Main
                                                                       Document Page 1 of 7
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  District of New Jersey


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Brick City Investment Group, LLC



    2. All other names debtor used                GRK Grill
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   2      7 – 0    2   2    0   0    2   7
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business



                                                   189-197 Bloomfield Ave                                      46 Fieldmere Ave
                                                   Number          Street                                      Number        Street

                                                   Bloomfield, NJ 07003                                        Glen Rock, NJ 07452
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Essex                                                       place of business
                                                   County




                                                                                                               Number        Street


                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
               Case 23-18750-JKS                   Doc 1          Filed 10/06/23 Entered 10/06/23 08:32:32                                 Desc Main
                                                                  Document Page 2 of 7
Debtor      Brick City Investment Group, LLC                                                                 Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    7     2   2   5

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                         MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                 Case 23-18750-JKS               Doc 1           Filed 10/06/23 Entered 10/06/23 08:32:32                             Desc Main
                                                                 Document Page 3 of 7
Debtor        Brick City Investment Group, LLC                                                              Case number (if known)
             Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real
      property or personal property
                                         ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?                                   ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?


                                                   ❑ It needs to be physically secured or protected from the weather.
                                                   ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                         options).
                                                   ❑ Other
                                                   Where is the property?
                                                                             Number        Street




                                                                             City                                         State    ZIP Code
                                                   Is the property insured?
                                                   ❑ No
                                                   ❑ Yes.        Insurance agency
                                                                 Contact name
                                                                 Phone

          Statistical and administrative information

         13. Debtor’s estimation of      Check one:
             available funds?            ❑ Funds will be available for distribution to unsecured creditors.
                                         ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         ❑
                                            creditors.

         14. Estimated number of
                                          ✔ 1-49 ❑ 50-99
                                          ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                    ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets
                                          ✔ $0-$50,000
                                          ❑                                     ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                          ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                          ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                          ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                 Case 23-18750-JKS                  Doc 1           Filed 10/06/23 Entered 10/06/23 08:32:32                                 Desc Main
                                                                    Document Page 4 of 7
Debtor        Brick City Investment Group, LLC                                                                  Case number (if known)
             Name



                                            ❑ $0-$50,000                                ✔ $1,000,001-$10 million
                                                                                        ❑                                         ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                          ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                         ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                       ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of             petition.
             debtor
                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is true
                                                      and correct.

                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on     10/06/2023
                                                                     MM/ DD/ YYYY



                                                 ✘ /s/ Evangelos Drosos                                               Printed name
                                                                                                                                       Evangelos Drosos
                                                     Signature of authorized representative of debtor


                                                     Title                    Managing Member



         18. Signature of attorney
                                                 ✘                       /s/ Marc C Capone                            Date      10/06/2023
                                                                                                                                MM/ DD/ YYYY
                                                     Signature of attorney for debtor



                                                      Marc C Capone
                                                     Printed name

                                                      Gillman, Bruton & Capone, LLC
                                                     Firm name

                                                      60 Highway 71 Unit 2
                                                     Number          Street


                                                      Spring Lake                                                        NJ              07762
                                                     City                                                               State            ZIP Code



                                                                                                                          mcapone@gbclawgroup.com
                                                     Contact phone                                                       Email address



                                                      021401993                                                           NJ
                                                     Bar number                                                          State




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
       Case 23-18750-JKS                Doc 1        Filed 10/06/23 Entered 10/06/23 08:32:32                               Desc Main
                                                     Document Page 5 of 7
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF NEW JERSEY
                                                             NEWARK DIVISION

IN RE: Brick City Investment Group, LLC                                               CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      10/06/2023            Signature                               /s/ Evangelos Drosos
                                                                  Evangelos Drosos, Managing Member
Case 23-18750-JKS   Doc 1   Filed 10/06/23 Entered 10/06/23 08:32:32   Desc Main
                            Document Page 6 of 7

                              Becker LLC
                              354 Eisenhower Parkway 1500
                              Livingston, NJ 07039




                              Bloomfield Township Tax
                              Collector
                              1 Municipal Plaza 1st Floor Room 101
                              Bloomfield, NJ 07003



                              Fedway Associates, Inc.
                              PO Box 519
                              Kearny, NJ 07032




                              GreenbergTraurig
                              500 Campus Drive 400
                              Florham Park, NJ 07932




                              Hi-Bar Capital LLC
                              1825 65th Street 300
                              Brooklyn, NY 11204




                              Martone & Associates
                              2500 Lemoine Ave
                              Fort Lee, NJ 07024




                              Park Rock Group, LLC
                              242 N Fullerton Ave
                              Montclair, NJ 07042




                              Raff Masone & Weeks, P.A.
                              1083 Avenue C
                              Bayonne, NJ 07002
Case 23-18750-JKS   Doc 1   Filed 10/06/23 Entered 10/06/23 08:32:32   Desc Main
                            Document Page 7 of 7

                              Scott Fields and Rudy Sarkis
                              500 Avenue P
                              Newark, NJ 07105
